Case 2:04-cr-20388-SH|\/| Document 89 Filed 08/26/05 Page 1 of 2 Page|D 116

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UNI'I‘ED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20388-Ma

HAROLD L. YANCY,
JERRY B. RODGERS,

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Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for a report date on August 24, 2005.
Defense counsel requested a special setting for a change of plea.

The Court granted the request and set a change of plea hearing
for Thursday, September 22, 2005 at l:30 p.m. The Court continued
the trial to the rotation docket beginning Monday, October 3, 2005
at 9:30 a.m. with a report date on Friday, September 23, 2005 at
2:00 p.m.

The period from August 24, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day Of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Thls doctment entered on the docket sheet |n c mpliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CR-20388 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

